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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                       Case No. 96‐CR‐0064(1) (PJS/FLN)

                      Plaintiff,

 v.                                                      MEMORANDUM

 CARLOS LARON HEWITT,

                      Defendant.

      In 1997, Chief Judge James M. Rosenbaum sentenced defendant Carlos Laron

Hewitt to 420 months’ imprisonment for various offenses related to his role in the

distribution of powder and crack cocaine in south Minneapolis. At the time of

sentencing, Hewitt’s range under the United States Sentencing Guidelines was 360

months to life. The United States Sentencing Commission later amended the guideline

for crack‐cocaine offenses, see U.S.S.G. app. C amends. 706, 715, and in 2009 Judge

Rosenbaum reduced Hewitt’s sentence to 324 months—the bottom of Hewitt’s

amended guideline range of 324 to 405 months.

      In 2014, the Sentencing Commission again amended the guidelines, further

reducing the base offense levels for drug offenses, and the Commission determined that

the amended levels should apply retroactively. See U.S.S.G. § 1B1.10(d), app. C amends.

782, 788. This matter is before the Court on Hewitt’s motion to reduce his sentence

under 18 U.S.C. § 3582(c)(2).
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       Hewitt requests that his sentence be reduced by 62 months to 262 months, the

bottom of his new guidelines range (262 to 327 months). The government agrees that

Hewitt is eligible for a sentence reduction but disagrees about the extent of the

reduction. The government argues for a reduced sentence of 306 months, emphasizing

the seriousness of Hewitt’s crimes and their impact on the community.

       The Court agrees with Hewitt that a reduction to 262 months is warranted.

Judge Rosenbaum presided over Hewitt’s prosecution and sentencing. When Judge

Rosenbaum last determined the appropriate sentence for Hewitt (in connection with the

first amendment to the guidelines), Judge Rosenbaum selected the bottom of the

advisory range then in effect. In light of Judge Rosenbaum’s familiarity with Hewitt

and his case, and in light of its own review of the case and Hewitt’s use of his time in

prison, the Court will follow suit and reduce Hewitt’s sentence to the bottom of the new

guidelines range. The Court notes that its decision hardly diminishes the seriousness of

Hewitt’s crimes; even with the reduction, he will serve nearly 20 years in prison.

       Having determined that a reduction to 262 months is consistent with U.S.S.G.

§ 1B1.10 and warranted according to 18 U.S.C. § 3553(a), see Dillon v. United States, 560

U.S. 817, 826 (2010), the Court will grant Hewitt’s motion, with the following

qualification:




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      At present, Hewitt’s expected release date is February 5, 2020; reducing his

sentence by 62 months would nominally push his release to a date in December 2014

(without accounting for any good‐time credit). As explained in the April 8, 2015

memorandum entered by the Court in United States v. Hull, No. 02‐CR‐0220 (PJS/FLN),

the Court cannot (1) make the order reducing Hewitt’s sentence effective before

November 1, 2015, or (2) reduce Hewitt’s sentence on the effective date of the order to a

term shorter than the time he will have already served as of that date. See also U.S.S.G.

§ 1B1.10(b)(2)(C), (e)(1). Therefore, the Court will order, effective November 1, 2015,

that Hewitt’s sentence be reduced to the longer of 262 months or the time that he will

have served as of November 1, 2015.




 Dated: May 21, 2015                          s/Patrick J. Schiltz
                                              Patrick J. Schiltz
                                              United States District Judge




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